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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiff,                                   4:12CR3115
      vs.
                                                        MEMORANDUM AND ORDER
KENNETH ORIZ, MARCUS KEYSER,
                      Defendants.


       Defendant Oriz has moved to continue the pretrial motion deadline, (filing no. 26),
because defense counsel needs additional time to fully review the discovery received before
deciding if pretrial motions should be filed.. The motion to continue is unopposed. Based on
the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

       IT IS ORDERED:

       1)      Defendant Oriz’s motion to continue, (filing no. 26), is granted.

       2)      As to both defendants, pretrial motions and briefs shall be filed on or before
               December 4, 2012.

       3)      As to both defendants, trial of this case remains scheduled to commence on
               December 17, 2012.

       4)      The ends of justice served by granting the motion to continue outweigh the
               interests of the public and the defendants in a speedy trial. Accordingly, as to
               both defendants, the additional time arising as a result of the granting of the
               motion, the time between today’s date and December 4, 2012, shall be deemed
               excludable time in any computation of time under the requirements of the
               Speedy Trial Act, because despite counsel’s due diligence, additional time is
               needed to adequately prepare this case for trial and failing to grant additional
               time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
               (h)(7).

       November 20, 2012.
                                                   BY THE COURT:

                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
